Case 16-17789                     Doc 78-3 Filed 11/11/19 Entered 11/11/19 12:51:28                                                                                Desc Exhibit
                                   C - March 19 to Oct 19 payments Page 1 of 14




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           PO Box517                               do not send your payment lo us.
           Titusville PA 16354                     Instead. you should send your              "All amounts dug must be paid in full before additional principal reduction can be made.
           Customer Care: 800-327-7861             payment to the Trustee.                    Additional Principal:                   >
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           DAVID P LEIBOWITZ, ESQ
           RE: RONALD J MALONEY
           53 W. JACKSON BOULEVARD
           CHICAGO IL 60604                                                                         BSI Financial Services
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                                                                                                    Dallas TX 75267-9002
           Please write your loan number on your check and make payable to:
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                                                                                    Direct inquiries to:
     RONALD J MALONEY                                                               Customer Service
     PAMELA G MALONEY                                                               708-532-3278
     8507 RADCLIFFE RD
     TINLEY PARK IL 60487-2149                                                      First Midwest Bank 315
                                                                                    16700 South 80TH Avenue
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        314 S Franklin St. / Second Floor        mortgage payments to the Trustee,
        PO Box 517                               do not send your payment to us.
        Titusville PA 16354                      Instead, you should send your
        Customer Care: 800-327-7861              payment to tho Trustoo.                    All amounts duo must bo pald in full boforo addiioral principal reduction can ba made.
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        Account Number:             562                                                     Additional Escrow:                     S
        Property Address: 8507 RADCLIFFE ROAD, TINLEY PARK IL 60487
        DAVID P LEIBOWITZ, ESQ
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        53 W. JACKSON BOULEVARD
        CHICAGO IL 60604
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        Please write your loan number on your check and make payable to:                         Dallas TX 75267-9002
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     PAMELA G MALONEY                                                        708-532-3278
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    RONALD J MALONEY                                              Customer Service
    PAMELA G MALONEY                                              708-532-3278
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          PAMELA G. MALONEY
          8507 RADCLIFFE RD.
          TINLEY PARK, IL 60487
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     RONALD J MALONEY                                                         Customer Service
     PAMELA G MALONEY                                                         708-532-3278
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          RONALD J. MALONEY 09-93
          PAMELA G. MALONEY
           8507 RADCLIFFE RD.
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    RONALD J MALONEY                                                      Customer Service
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       Account Number; 1461967562                                                          Additional Escrow:                      S
       Property Address: 8507 RADCLIFFE ROAD. TINLEY PARK IL 60487
       DAVID P LEIBOWITZ. ESQ                                                              Total Amount Enclosed                                S
       RE: RONALD J MALONEY
       53 W. JACKSON BOULEVARD
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